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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 Belinda Wheeler, individually and on           §
 Behalf of all others similarly situated,       §
                                                §
         Plaintiff,                             §                             Case No. 1:22cv763
                                                §
 v.                                             §                        Class Action Complaint
                                                §
 Panini America, Inc.,                          §                          Jury Trial Demanded
                                                §
         Defendant.                             §

                DECLARATION OF SETH M. ROBERTS IN SUPPORT OF
                     MOTION FOR PRO HAC VICE ADMISSION



       I, Seth M. Roberts, declare:
       1.      My full name is Seth Michael Roberts.
       2.      My office is located at 2200 Ross Ave., Suite 2800, Dallas, TX 75201. My office
telephone number is (214) 740-8000.
       3.      I am an attorney at law licensed to practice in the State of Texas (Texas Bar No.
24051255) and am admitted to the State Bar of Texas, the United States District Court for the
Northern District of Texas, the United States District Court for the Eastern District of Texas, the
United States District Court for the Western District of Texas, the United States District Court
for the Southern District of Texas, and the United States District Court for the District of
Colorado, and the Fifth Circuit Court of Appeals.
       4.      I have not been disciplined by any bar.
       5.      I have not been admitted pro hac vice in this Court within the last two years.
       6.      I do not engage in the practice of law from any office located in the District of
Columbia, am not a member of the District of Columbia Bar, and do not have an application for
membership pending with the District of Columbia Bar.




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       7.      A true and correct copy of a Certificate of Standing dated June 8, 2022 providing
that I am a member in good standing of the State Bar of Texas is attached hereto as Exhibit 1.
       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct and that this declaration was executed on June 8, 2022.

                                              Respectfj.tlly submitted,


                                              Seth . Robert
                                               Tex. Bar No. 051255
                                               sroberts • ockelord. corn
                                              LOCKE LORD LLP
                                              2200 Ross Avenue, Suite 2800
                                              Dallas, Texas 75201
                                              (214) 740-8000 (Telephone)
                                              (214) 740-8800 (Facsimile)

                                              ATTORNEY FOR DEFENDANT
                                              PANINI AMERICA, INC.




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 10, 2022, I electronically filed the foregoing with the Clerk of

the District Court using the CM/ECF system, which sent notification of such filing to all counsel

of record.


                                              /s/ Tovja E. Kelley
                                              Toyja E. Kelley




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               EXHIBIT 1
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                STATE BAR OF TEXAS


Office of the Chief Disciplinary Counsel

June 08, 2022



Re: Mr. Seth Michael Roberts, State Bar Number 24051255


To Whom It May Concern:

This is to certify that Mr. Seth Michael Roberts was licensed to practice law in Texas on November
04, 2005, and is an active member in good standing with the State Bar of Texas. "Good standing"
means that the attorney is current on payment of Bar dues; has met Minimum Continuing Legal
Education requirements; and is not presently under either administrative or disciplinary suspension
from the practice of law.


This certification expires 30 days from the date, unless sooner revoked or rendered invalid by
operation of rule or law.


Sincerely,




Seana Willing
Chief Disciplinary Counsel
SW/web




   P.O. BOX 12487, CAPITOL STATION, AUSTIN, TEXAS 78711-2487, 512.427.1350; FAX: 512.427.4167
